241 U.S. 683
    36 S.Ct. 285
    60 L.Ed. 1235
    UNITED STATES, Appellant,v.MELVEN BOOTH,1 Administrator, etc.
    No. 192.
    Supreme Court of the United States
    January 17, 1916
    
      1
      The Attorney General for appellant.
    
    
      2
      Mr. George A. King for appellee.
    
    
      3
      Dismissed on motion of counsel for the appellant.
    
    
      
        1
         Death of Olin R. Booth suggested, and appearance of Melven Booth, as administrator of Olin R. Booth, deceased, as the party appellee herein, filed and entered on January 10, 1916.
      
    
    